Case 08-28225   Doc 2217-6    Filed 08/26/21 Entered 08/26/21 13:28:18   Desc
                             Exhibit E Page 1 of 9




                     Exhibit E
Case 08-28225   Doc 2217-6    Filed 08/26/21 Entered 08/26/21 13:28:18   Desc
                             Exhibit E Page 2 of 9




                  February 2021
        Case 08-28225   Doc 2217-6  Filed 08/26/21 Entered 08/26/21 13:28:18            Desc
                                  Exhibit E    Page 3 of 9
                                          LAW OFFICES

                                  JENNER & BLOCK LLP
                                          353 N. Clark Street
                                     CHICAGO, ILLINOIS 60654-3456
                                            (312) 222-9350




EXPENSES                                                                       MATTER NUMBER - 10190


  2/01/21   Postage Expense                                                                       1.02
  2/22/21   B&W Copy                                                                              1.21
  2/24/21   B&W Copy                                                                               .77
            TOTAL DISBURSEMENTS                                                                 $ 3.00


MATTER 10190 TOTAL                                                                              $ 3.00
                                                               TOTAL INVOICE               $ 53,182.50




                                            Page 6
Case 08-28225   Doc 2217-6    Filed 08/26/21 Entered 08/26/21 13:28:18   Desc
                             Exhibit E Page 4 of 9




                     March 2021
        Case 08-28225    Doc 2217-6     Filed 08/26/21 Entered 08/26/21 13:28:18   Desc
                                      Exhibit E    Page 5 of 9
                                              LAW OFFICES

                                      JENNER & BLOCK LLP
                                              353 N. Clark Street
                                         CHICAGO, ILLINOIS 60654-3456
                                                (312) 222-9350




EXPENSES                                                                MATTER NUMBER - 10190


  3/04/21   Photocopy Expense                                                                5.50
  3/05/21   Postage Expense                                                                 27.74
  3/10/21   US Messenger 02/24/2021                                                         65.46
            TOTAL DISBURSEMENTS                                                           $ 98.70


MATTER 10190 TOTAL                                                                        $ 98.70




                                                Page 5
Case 08-28225   Doc 2217-6    Filed 08/26/21 Entered 08/26/21 13:28:18   Desc
                             Exhibit E Page 6 of 9




                       April 2021
        Case 08-28225     Doc 2217-6  Filed 08/26/21 Entered 08/26/21 13:28:18             Desc
                                    Exhibit E    Page 7 of 9
                                            LAW OFFICES

                                    JENNER & BLOCK LLP
                                             353 N. Clark Street
                                        CHICAGO, ILLINOIS 60654-3456
                                               (312) 222-9350




EXPENSES                                                                          MATTER NUMBER - 10190


  3/26/21   B&W Copy                                                                                2.20
  4/07/21   Pacer Charges; PACER SERVICE CENTER; 04/07/2021; 1/01/2021-                            35.40
            03/31/2021.
  4/07/21   Pacer Charges; PACER SERVICE CENTER; 04/07/2021;                                        1.30
            Period:01/01/2021-03/31/2021.
  4/07/21   Pacer Charges; PACER SERVICE CENTER; 04/07/2021; 1/01/2021-                             1.80
            03/31/2021.
  4/23/21   2021 Quarter 1 PACER Charges                                                             2.00
            TOTAL DISBURSEMENTS                                                                   $ 42.70


MATTER 10190 TOTAL                                                                                $ 42.70
                                                                  TOTAL INVOICE               $ 50,880.70




                                               Page 6
Case 08-28225   Doc 2217-6    Filed 08/26/21 Entered 08/26/21 13:28:18   Desc
                             Exhibit E Page 8 of 9




                        May 2021
        Case 08-28225   Doc 2217-6  Filed 08/26/21 Entered 08/26/21 13:28:18            Desc
                                  Exhibit E    Page 9 of 9
                                          LAW OFFICES

                                  JENNER & BLOCK LLP
                                          353 N. Clark Street
                                     CHICAGO, ILLINOIS 60654-3456
                                            (312) 222-9350




EXPENSES                                                                       MATTER NUMBER - 10190


  5/07/21   Postage Expense                                                                       1.02
  5/20/21   Postage Expense                                                                       1.02
            TOTAL DISBURSEMENTS                                                                 $ 2.04


MATTER 10190 TOTAL                                                                              $ 2.04
                                                               TOTAL INVOICE               $ 46,707.54




                                            Page 6
